
USCA1 Opinion

	










          April 23, 1996
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                                 ____________________

        No. 95-1831

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                   THOMAS C. BOOTH,

                                Defendant, Appellant.

                                _____________________

        No. 95-1838

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                           LISA BOOTH, a/k/a LISA VISCONE,

                                Defendant, Appellant.

                                 ____________________


                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                     [Hon. D. Brock Hornby, U.S. District Judge]
                                            ___________________

                                 ____________________

                                        Before

                                 Lynch, Circuit Judge,
                                        _____________

                      Aldrich and Bownes, Senior Circuit Judges.
                                          _____________________

                                 ____________________
















                                 ____________________


            Sheila A.  Cook with whom  Law Offices of  William Maselli was  on
            _______________            _______________________________
        brief for appellant Thomas C. Booth.
            E. James Burke and Bell &amp; Burke, P.A.  on brief for appellant Lisa
            ______________     __________________
        Booth, a/k/a Lisa Viscone.
            Margaret  D. McGaughey,  Assistant  United States  Attorney,  with
            ______________________
        whom Jay A. McCloskey, United States Attorney, and George T. Dilworth,
             ________________  ______________________      __________________
        Assistant United States Attorney, were on brief for appellee.
            F. Mark  Terison, Assistant  United States  Attorney,  and Jay  P.
            ________________                                           _______
        McCloskey, United States Attorney, on brief for appellee.
        _________  ______________________

                                 ____________________


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                      ALDRICH,  Senior  Circuit Judge.   Thomas  and Lisa
                                _____________________

            Booth  each pled guilty to one count of conspiracy to possess

            and  distribute in  excess of  50 grams  of cocaine  base, in

            violation  of 21  U.S.C.    841(a)(1), 841(b)(1)(A)  and 846,

            and now appeal their respective sentences.  We affirm in both

            cases.

                      Thomas was, concededly,  a "career offender"  under

             4B1.1  of  the Sentencing  Guidelines,  which  prescribed an

            offense  level of 37.   The court  granted him  a three level

            reduction for acceptance of responsibility, under  3E1.1, for

            a total  adjusted  offense  level  of  34,  which  yielded  a

            guideline sentencing  range of  262-327 months.   Pursuant to

             5K1.1  of the  Guidelines, the  government recommended  a 20

            percent departure below  the low end of  the guideline range,

            based on  Thomas' forthright cooperation.   The court agreed,

            sentencing Thomas to 204 months, or 17 years, as recommended.

                      Thomas  sought  a  further  downward  departure for

            having had an allegedly  minor role in the conspiracy,  which

            the court denied.  He claims the court incorrectly ruled that

            it  had  no  authority  to  depart  from  a  career  offender

            guideline range on the  basis of a relatively lesser  role in

            the offense.   Where the court's departure  decision may have

            been affected by a mistaken view of the law,  it falls within

            our  jurisdiction to review, de  novo.  See  United States v.
                                         __  ____   ___  _____________

            Webster,  54  F.3d 1,  4 (1st  Cir.  1995); United  States v.
            _______                                     ______________



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            Gifford, 17 F.3d 462, 473 (1st Cir. 1994).
            _______

                      Thomas  stakes  his  claim  on   5H1.7,   a  policy

            statement that  "defendant's role in the  offense is relevant

            in determining  the appropriate  sentence,"  which refers  to

            Chapter  Three, Part  B (Role  in the  Offense).   See, e.g.,
                                                               ___  ____

            U.S.S.G.   3B1.2  (allowing  downward adjustment  to  offense

            level  for mitigating  role).1   We garner  little  from this

            general truism  that establishes  authority to depart  on the

            basis  of a defendant's role.   Especially should  this be so

            when it is  not found in  Part K of  Chapter Five, where  the

            permitted  bases for  departure are delineated.   Unspecified

            departures  are  of course  allowed,  but  only where  "there

            exists an  aggravating or mitigating circumstance  of a kind,

            or to  a degree, not  adequately taken into  consideration by

            the  Sentencing Commission  in  formulating the  guidelines."

             5K2.0;  18 U.S.C.   3553(b).   Role-in-the-offense  has been

            amply considered,  see generally U.S.S.G.  Ch.3, and downward
                               ___ _________

            adjustment for both  "minor" and "minimal"  role specifically

            provided for.  See   3B1.2 and comment. (n.1  and 2).   Thus,
                           ___

            unless a  defendant's role  falls outside the  "heartland" of


                                
            ____________________

            1.  Over  Thomas'  objection, the  court  ruled  that he  was
            ineligible for a downward adjustment under  3B1.2 because the
            career offender guideline allows but a single adjustment, for
            acceptance  of  responsibility,  pursuant  to   3E1.1.    See
                                                                      ___
             4B1.1;  United States v. McCoy,  23 F.3d 216,  218 (9th Cir.
                     _____________    _____
            1994).   By way of  a footnote, Thomas  continues to register
            his  disagreement,  but  forgoes  briefing  the  issue.    We
            therefore deem it waived.

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            cases covered by this  provision "in a way that  is important

            to   the  statutory  purposes   of  sentencing,"   5K2.0  and

            comment., departure  is foreclosed.2   Thomas makes  no claim

            that his does; nor do we believe he successfully could, given

            the unequivocally  stated statutory  purpose to "assure  that

            certain career  offenders receive a sentence  of imprisonment

            at  or  near  the  maximum  term  authorized  [by  statute]."

            U.S.S.G.    4B1.1,  comment.  (backg'd)   (citing  28  U.S.C.

              994(h))  (internal quotations omitted).   See United States
                                                        ___ _____________

            v.  Norflett,  922  F.2d 50,  53  (1st  Cir. 1990)  (Congress
                ________

            intended there to be "precious little room to maneuver" below

            the statutory maximum for career offenders).  Unsurprisingly,

            then,  we find little regard  in the Guidelines  for a career

            offender's  relative  role  in  his latest  enterprise.    In

            accordance  with  congressional   directive,  see  28  U.S.C.
                                                          ___

              994(h),  the  career  offender  provision  "focuses on  the


                                
            ____________________

            2.  Thomas claims United States v. Valdez-Gonzalez, 957  F.2d
                              _____________    _______________
            643  (9th Cir.  1992),  stands  for  the  contrary.    There,
            downward adjustment under   3B1.2 was also  inapplicable, not
            because defendants were  career offenders,  but because  they
            were each the only participants in the offenses to which they
            pled guilty.  Id.  at 648.  In nonetheless  allowing downward
                          ___
            departure  for  minimal  role,   the  court  ruled  that  the
            Sentencing Commission had  not adequately considered relative
            role  in a criminal  scheme extending  beyond the  offense at
                                                   ______
            hand, permitting a  5K2.0  departure where each defendant was
            but a "mule"  in a  much larger criminal  operation than  the
            single substantive offense he  committed.  Id. at 650.   Role
                                                       ___
            in a scheme  beyond the  conspiracy charged is  not at  issue
            here, and Valdez-Gonzalez is  of questionable validity in any
                      _______________
            event.   See United States v. Webster, 996 F.2d 209, 211 (9th
                     ___ _____________    _______
            Cir. 1993).

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            recurrence of offenses  rather than on  the specifics of  the

            most  recent offense."  United States v. Richardson, 923 F.2d
                                    _____________    __________

            13, 16















































                                         -6-















            (2d Cir. 1991).  Thus, even properly construed as a claim for

            departure under  5K2.0, Thomas' pitch falls short.

                      Lisa  Booth  faced   a  20-year  mandatory  minimum

            sentence, based  on a  prior  felony drug  offense, under  21

            U.S.C.    841(b)(1)(A).   Upon the  government's  motion, the

            court  halved her  sentence for  cooperation and  substantial

            assistance.  See U.S.S.G.  5K1.1.  She complains, first, that
                         ___

            the  court took the 20-year mandatory minimum as its point of

            departure, rather  than the  guideline range  of  100 to  125

            months  calculated  from  her  offense  level  and   criminal

            history.   Had the  court ignored the  statutory minimum  and

            instead taken the calculated range as the guideline sentence,

            its departure  would have produced a sentence  closer to five

            years.   The simple answer  is that under  the Guidelines, "a

            statutorily required minimum sentence . . .  greater than the

            maximum of the  applicable guideline range . . . shall be the
                                                             _____

            guideline  sentence."   U.S.S.G.  5G1.1(b)  (emphasis added).

            The remainder  of her complaint  quibbles with the  extent of

            the court's departure, over which we  lack jurisdiction.  See
                                                                      ___

            United States v. Pighetti, 898 F.2d 3, 4 (1st Cir. 1990).
            _____________    ________

                      Affirmed.
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